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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                 4:08CR3177
                                          )
             v.                           )
                                          )
MELODY ANN WINTERS,                       )                MEMORANDUM
                                          )                 AND ORDER
                    Defendant.            )
                                          )

       Based upon 117.98 grams of “crack,” Melody Ann Winders was originally
sentenced to the statutory minimum of 120 months on September 16, 2009 and the
judgment was filed on September 18, 2009. (Filing no. 121.) This was all before the
Fair Sentencing Act (FSA) took effect on August 3, 2010. Therefore, the Supreme
Court’s decision in Dorsey v. United States, — U.S. —, 132 S.Ct. 2321, 2335-36
(2012) (making the FSA’s lower quantity triggers for statutory minimums retroactive
in certain cases) does not apply. This is because “the Act applies retroactively only
to ‘offenders whose crimes preceded August 3, 2010, but who are sentenced after that
date.’” United States v. Mouzone, 687 F.3d 207, 222 (4 th Cir. 2012) (quoting Dorsey)
(emphasis added).

       As a result, Winters is not entitled to relief under the FSA. There was no
retroactive lowering of the quantity trigger for the 10-year statutory minimum in
Winters’ case because she was originally sentenced prior to the effective date of the
FSA.

       It is true that Winters later received a Rule 35(b) reduction in October of 2010.
Her sentence was reduced to 80 months. (E.g., filing no. 194.) However, “Rule 35(b)
uses the original guidelines range as a frame of reference” and “[w]here . . . the
defendant was originally sentenced at the bottom of the restricted Guidelines range
(the statutory minimum), the district court starts from that point and departs as
necessary to reflect the defendant’s assistance.” United States v. Roa-Medina, 607
F.3d. 255, 259 (1 st Cir. 2010) (Defendant's 72-month sentence for distributing cocaine
base, which district court had reduced from original 120-month sentence pursuant to
government motion for sentence reduction based on defendant's substantial assistance,
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continued to be based on restricted sentencing guidelines range of 120-135 months
that had applied at original sentencing by operation of 120-month statutory mandatory
minimum sentence, and thus, 72-month sentence was not based on sentencing range
that was subsequently lowered by guidelines amendment lowering offense levels for
crack cocaine offenses, so as to make defendant eligible for sentence reduction under
statute authorizing sentence reduction in case of defendant who was sentenced based
on sentencing range that was subsequently lowered by Sentencing Commission). See
also United States v. Lewis, 2012 WL 3139735 (8 th Cir., August 3, 2012) .

      In an effort to treat all defendants fairly, the United States Probation Office for
the District of Nebraska looked into the defendant’s case to determine whether she
was entitled to relief under the FSA. USPO Ford submitted a “2011 Retroactive
Sentencing Worksheet” indicating that Winters is not entitled to relief under the FSA
and he provided copies to counsel. I have now examined the Worksheet and I agree
with USPO Ford’s conclusion.

      IT IS ORDERED that:

      1.     USPO Craig Ford shall file the Worksheet in the court file.

      2.     The defendant is not entitled to relief under the Fair Sentencing Act.

      3.     The Clerk shall mail a copy of this Memorandum and Order to Ms.
             Winters and provide notice to counsel.

      4.     The Clerk shall also provide a copy of this Memorandum and Order to
             SUSPO Norton, SUSPO Nelson and USPO Ford.

      DATED this 14 th day of September, 2012.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         Senior United States District Judge




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